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                                                              February 2, 2024

VIA ECF
The Honorable Dale E. Ho
U.S. District Judge
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re: United States v. M/Y Amadea, No. 23-cv-9304 (DEH)

Dear Judge Ho:

        Pursuant to the Court’s January 17, 2024 Order, the United States and Claimants Eduard
Khudainatov and Millemarin Investments Ltd. (“Claimants”) submit this joint letter to report on
the status of efforts to reach agreement on the issue of maintenance fees. See Dkt. No. 18 at 1.
While the parties have met and conferred about this issue, we have not been able to reach a
resolution.

        As a result, the United States intends to file a motion for interlocutory sale of the property
at issue in this case, and proposes the following briefing schedule for that motion:

   •   February 9, 2024: deadline for United States’ motion
   •   February 23, 2024: deadline for Claimants’ opposition
   •   March 1, 2024: deadline for United States’ reply

        Claimants’ Position: On February 1, 2024, the government informed Claimants that it
plans to file an amended complaint in lieu of opposing Claimants’ motion to dismiss. Given the
government’s acknowledgment that the current complaint requires amending, the threshold
question of whether the government has set forth a cognizable claim to seek forfeiture of the
Amadea remains undetermined. As such, Claimants contend that a motion for interlocutory sale
is premature and cannot meet the legal standard necessary for the Court to grant this relief, which
requires, in the first instance, the existence of a legally cognizable claim for forfeiture. Claimants
submit this Court should deny the government’s request to file a motion seeking interlocutory
sale and the proposed briefing schedule until after an operative complaint has survived a motion
to dismiss and this court has determined the seizure was constitutional—only at that point would
a motion for interlocutory sale be ripe. If the Court grants the government’s request to file the
interlocutory sale motion, Claimants do not object to the above schedule.

       Moreover, if the court grants the government’s motion schedule, Claimants request the
following discovery schedule limited to the issues relevant to the interlocutory sale.
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       Claimants serve Requests for Production and Interrogatories: February 6, 2024
       Government Production and Responses: February 9, 2024

        For these same reasons, Claimants believe that any motion to substitute assets in this
matter is also premature, and do not plan to file one on February 9, 2024 as previously discussed
with the Court at the January 17, 2024 pretrial conference.

         United States’ Response: Claimants may present their argument that interlocutory sale
would be premature in their opposition to the United States’ motion. It is not a proper basis to
delay the filing of a time-sensitive motion. Further, the Court should deny Claimants’ request for
expedited discovery related to this motion. The United States’ motion will be accompanied by a
declaration from the U.S. Marshals Service (“USMS”) providing full evidentiary support for the
relief requested, as is customary. See, e.g., United States v. One 2005 Lagoon 440 Sailing
Catamaran Named Bohemian Rhapsody, No. CV 13-9262-DMG (JCX), 2017 WL 10573808, at
*1 (C.D. Cal. Sept. 22, 2017) (granting interlocutory sale based on “excessive” costs on strength
of USMS declaration). If Claimants believe the declaration is insufficient (or otherwise wish to
dispute the uncontroversial fact that monthly expenses to maintain a superyacht are sizeable),
they may make that argument in their opposition.

       We thank the Court for its consideration of this submission.

                                                     Respectfully Submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney
                                                     Southern District of New York

                                             By:      /s/ Jennifer Jude
                                                     JENNIFER JUDE
                                                     MICHAEL LOCKARD
                                                     Assistant United States Attorneys


                                                     MARGARET A. MOESER
                                                     Acting Chief
                                                     Money Laundering and Asset Recovery
                                                     Section, Criminal Division
                                                     U.S. Department of Justice

                                                     By: /s/ Joshua L. Sohn
                                                     JOSHUA L. SOHN
                                                     Trial Attorney
                                                     Money Laundering and Asset Recovery
                                                     Section
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                                                  JENNIFER KENNEDY GELLIE
                                                  Acting Chief
                                                  Counterintelligence and Export Control
                                                  Section, National Security Division
                                                  U.S. Department of Justice

                                                  By: /s/ Yifei Zheng
                                                  YIFEI ZHENG
                                                  Trial Attorney
                                                  Counterintelligence and Export Control
                                                  Section (CES)


                                           /s/ Adam C. Ford
                                           Adam C. Ford
                                           Renée L. Jarusinsky
                                           Ford O’Brien Landy LLP
                                           Counsel for Claimants Eduard Yurievich
                                           Khudainatov and Millemarin Investments Ltd.



  The parties' letter states that the Government intends to file an amended complaint and
  suggests that Claimant will file a motion to dismiss the amended Complaint. Claimant's
  request for briefing of the Government's anticipated motion for interlocutory sale
  subsequent to a decision regarding Claimant's anticipated motion to dismiss any
  amended complaint is DENIED. The Government may file its motion for interlocutory
  sale at its convenience. The default briefing deadlines of Local Civil Rule 6.1(b), which
  align with the Government's proposal, shall apply to any such motion. Claimant's request
  for expedited discovery into issues relevant to the interlocutory sale is DENIED, without
  prejudice to renewal. The parties' letter provides no information regarding what
  information this discovery would seek or any basis to conclude such discovery is
  warranted. So Ordered.


  Dale E. Ho
  United States District Judge
  Dated: February 6, 2024
  New York, New York
